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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA, )
Vv. ) No. 1:18crl11
JULIAN PAUL ASSANGE
ORDER OF DISMISSAL

WHEREAS, on March 6, 2018, the defendant was indicted by a grand jury in this district
on one count;

WHEREAS, on May 23, 2019, the defendant was indicted in a superseding indictment by
a grand jury in this district on 18 counts;

WHEREAS, on June 24, 2020, the defendant was indicted in a second superseding
indictment by a grand jury in this district on 18 counts;

WHEREAS, on June 26, 2024, the defendant pleaded guilty to a criminal information in
the U.S. District Court for the Northern Mariana Islands 1:24-cr-0014;

AND WHEREAS, pursuant to the plea agreement entered by the U.S. District Court for
the Northern Mariana Islands in that case, the Government moves to dismiss the indictments
previously filed in this district in this case;

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT
the indictments previously filed in this district against defendant JULIAN PAUL ASSANGE are

dismissed and the associated arrest warrants are vacated.

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CLAUDE M. HILTON
Date, Se 26,2024 UNITED STATES DISTRICT JUDGE

